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      Nos. 25-1555 through 25-1578; 25-1580 through 25-1593; 25-1676;
                        and 25-1677 (Consolidated)


             IN THE UNITED STATES COURT OF APPEALS
                      FOR THE THIRD CIRCUIT
                 ___________________________________
                    ATLAS DATA PRIVACY CORP., et al.,
                                     Plaintiffs-Appellees,
              MATTHEW J. PLATKIN, in his official capacity as
                ATTORNEY GENERAL OF NEW JERSEY,
                                      Intervenor-Appellee.
                                       v.
                          WE INFORM LLC, et al.,
                                     Defendants-Appellants.
                    __________________________________

             On Appeal from the United States District Court for the
                District of New Jersey (No. 1:24-cv-4037-HB)
                          _______________________

BRIEF OF INTERVENOR-APPELLEE ATTORNEY GENERAL OF NEW JERSEY
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                                  INTRODUCTION

      Our legal tradition has long recognized the need to balance speech and privacy

rights with care, particularly when the sanctuary of the home is at stake. In 2020,

after the murder of a judge’s son on the doorstep of their home by an attorney seeking

to murder the judge herself, the New Jersey Legislature continued that longstanding

tradition by enacting Daniel’s Law. As relevant, Daniel’s Law grants certain

individuals a civilly enforceable right to ask an entity to stop sharing their home

address or unpublished home phone number. N.J. Stat. Ann. §56:8-166.1(a)-(b). If

that entity receives valid written notice but fails to comply within ten business days,

it faces civil liability. Id. The law also helps covered persons to vindicate their rights

by assigning their claims to third parties, and provides for liquidated damages of

$1,000 per violation. Id. §56:8-166.1(c)-(d). The question this interlocutory appeal

presents is whether Appellants—primarily data brokers and other companies that

make large volumes of data available online—can dismiss the complaints against

them on their theory that the law is facially unconstitutional. This Court should

affirm the district court’s holdings that strict scrutiny is inappropriate to test a

privacy law like this one and that Appellants’ facial motion to dismiss should fail.

      Initially, in seeking facial invalidation of Daniel’s Law on this posture,

Appellants face a steep climb. Even under the somewhat less stringent facial

standard that applies in First Amendment cases, Appellants must still establish what



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exactly the law covers and then show a disproportionate ratio of unconstitutional to

constitutional applications. Moody v. NetChoice, LLC, 603 U.S. 707, 723-26 (2024).

That showing is particularly difficult on this motion-to-dismiss posture.

      In any event, on this facial posture it appears clear that the vast majority of

Daniel’s Law’s applications warrant less than strict scrutiny for three reasons. First,

the law fits within a longstanding tradition of safeguarding safety and privacy in the

home and reflects no meddling in the marketplace of ideas, making a lower level of

scrutiny appropriate regardless of the statute’s content-neutrality. See Vidal v. Elster,

602 U.S. 286, 300 (2024). The framework applied by the district court properly

respects this tradition. See Fla. Star v. B.J.F., 491 U.S. 524, 536-40 (1989); JA107.

Second, because the law regulates primarily commercial speech—the sale of data

with no expressive or non-commercial interests attached—it can likewise be

analyzed under Central Hudson Gas & Electric Corp. v. Public Service Commission,

447 U.S. 557 (1980), regardless of the statute’s content-neutrality. And third, the law

is not content-based, because while it applies to some types of speech and not others,

the law’s coverage is driven by the choices of third parties and secondary effects.

      Daniel’s Law likewise satisfies any form of facial review. As the district court

recognized, the statute easily satisfies the Florida Star framework because few if

any applications touch on matters of public concern, the law’s exceptions for public

entities reveal no underinclusivity, and the New Jersey Supreme Court would likely



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construe it to impose a negligence standard. Similarly, the law would satisfy Central

Hudson or intermediate scrutiny—or, indeed, strict scrutiny, if that standard were to

apply. There is no basis to overturn these careful conclusions.

      In short, amid a rising tide of threats and violence, Daniel’s Law gives public

servants, who face especially heightened threats to their safety and the safety of their

families, a right to ask others to stop sharing non-expressive data that would allow

malign actors to harm them and their families where they are most vulnerable—in

their home. Such commonsense and targeted protections have long coexisted with

the First Amendment, and they pose no threat to its cherished values. Daniel’s Law

is facially valid, which resolves the instant appeal in its entirety.

                          STATEMENT OF THE ISSUE

      Whether the district court correctly denied the motion to dismiss challenging

Daniel’s Law as facially invalid under the First Amendment.

                      STATEMENT OF RELATED CASES

      In addition to Appellants’ reported cases, an as-applied challenge to Daniel’s

Law is pending before the New Jersey Supreme Court. Kratovil v. City of New

Brunswick, No. A-6-24 (N.J.) (argued Mar. 3, 2025). The New Jersey Attorney

General (NJAG) has also been notified of four facial challenges to Daniel’s Law

pending in the New Jersey Superior Court, Law Division. The NJAG has intervened

in two of those matters to date: Atlas v. OWMN, MID-L-992-24, and Atlas v. Verisk,



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MID-L-903-24. The other two are Atlas v. Choreograph LLC, BER-L-920-24, and

Atlas v. InsideRE, LLC, MID-L-991-24.

                          STATEMENT OF THE CASE

      A.     The Right To Privacy And Safety In The Home.

      Our law has recognized the home as a sanctuary since before the Founding.

New England colonists considered the home “a haven for solitude and intimacy” and

“a barrier against intrusion by uninvited outsiders.” David Flaherty, Privacy in

Colonial New England 1630-1776, at 85 (1972). Eavesdropping has been a crime

since common law. See 4 Blackstone, Commentaries 169 (1772). And for centuries,

jurists have recognized that the right to domestic privacy is coequal with the right to

speak: “each must be recognized and enforced with due respect for the other.”

Pavesich v. New England Life Ins. Co., 50 S.E. 68, 73 (Ga. 1905); see Frisby v.

Schultz, 487 U.S. 474, 484-85 (1988).

      Starting in the 1800s, courts found this right to domestic privacy could be

enforced through tort. E.g., De May v. Roberts, 9 N.W. 146, 148-49 (Mich. 1881);

Pavesich, 50 S.E. at 73; Melvin v. Reid, 297 P. 91, 92 (Cal. Ct. App. 1931) (collecting

cases); Samuel Warren & Louis Brandeis, The Right to Privacy, 4 Harv. L. Rev. 193

(1890). By the mid-twentieth century, most States recognized such torts, Friedman

v. Martinez, 231 A.3d 719, 729 (N.J. 2020), which fell into four categories:

(1) intrusion upon seclusion; (2) public disclosure of private facts; (3) “false light”;



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and (4) appropriation of name or likeness, Restatement (Second) of Torts §§ 652A-

652E (1977). Each reflects one of “the most comprehensive of rights and the right

most valued by civilized man”: “the right to be let alone.” Olmstead v. United States,

277 U.S. 438, 478 (1928) (Brandeis, J., dissenting).

      Statutory protections for personal information also date back centuries. In

1782, the Continental Congress passed a law protecting the confidentiality of letters.

Act of Oct. 18, 1782, 23 J. Continental Cong. 670, 671-72. In 1825, Congress made

it a crime to open letters en route. Act of Mar. 3, 1825, ch.64, §21, 4 Stat. 102, 107-

08. And in 1889, Congress imposed monetary penalties on census officials who

shared confidential information. Act of Mar. 1, 1889, ch.319, §§ 8, 13, 25 Stat. 760,

763-64.

      Such privacy rights have evolved as society has entered the Information Age.

In 1988, Congress passed the Video Privacy Protection Act (VPPA), after a

newspaper reported the films Judge Robert Bork had rented from a local video store.

Stark v. Patreon, Inc., 656 F. Supp. 3d 1018, 1026-27 (N.D. Cal. 2023). Three years

later, Congress enacted the Telephone Consumer Protection Act (TCPA), allowing

individuals to opt out of telemarketing calls. 47 U.S.C. §227. In 1994, Congress

enacted the Driver’s Privacy Protection Act (DPPA) in response to documented

threats and attacks suffered by various individuals, including physicians and law




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enforcement. See Dahlstrom v. Sun-Times Media, LLC, 777 F.3d 937, 944 & n.5

(7th Cir. 2015); 138 Cong. Rec. 7105 (Mar. 26, 1992), https://tinyurl.com/bd7pzj87.

      States have also recognized that some individuals are especially likely to be

targeted in their homes. New Jersey, for example, has various provisions protecting

victims of sexual assault and domestic violence. E.g., N.J. Stat. Ann. §2A:82-46(a);

N.J. Stat. Ann. §47:4-1 to -6; N.J. Ct. R. 1:38-3(c)(12); State v. Ramirez, 284 A.3d

839, 853-54 (N.J. 2022) (collecting examples). So do other States. E.g., 23 Pa. Cons.

Stat. Ann. §§ 6701 to 6713; Del. Code Ann. tit. 11, §§ 9611 to 9619.

      States have long enacted comparable provisions to protect public servants like

judges and police officers, who often face threats to themselves and their families

simply for doing their jobs. See Texas Gov’t Code §552.117(a)(1), (a)(15) (1993);

Colo. Rev. Stat. Ann. §18-9-313 (2002); Kan. Stat. Ann. §21-5905(a)(7) (2010); 705

Ill. Comp. Stat. Ann. 90/2-5 (2012). New Jersey first enacted such a law in 2015,

imposing criminal liability for purposeful or reckless disclosures of the “home

address or unpublished home telephone number” of a law-enforcement officer,

spouse, or child, P.L. 2015, ch.226, §1 (codified at N.J. Stat. Ann. §2C:20-31.1

(2016)), and allowing covered persons to obtain civil remedies for negligent

conduct, id. §3 (codified at N.J. Stat. Ann. §56:8-166.1 (2016)).




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      B.     Growing Threats To Public Servants.

      The problem itself is not new. In 2005, a litigant murdered the family of U.S.

District Judge Joan Lefkow. See Daniel Anderl Judicial Security and Privacy Act of

2022 (Federal Daniel’s Law), P.L. 117-263, §5932(a)(4), 136 Stat. 3459. In June

2013, another federal judge was “targeted by a gunman who purchased the address

of his Florida home on the internet for a mere $1.95.” 116 Cong. Rec. 213 (2020).

“The gunshot missed his ear by less than 2 inches.” Id.

      The problem, however, is getting worse. Between 2015 and 2019, “threats and

other inappropriate communications against Federal judges and other judiciary

personnel” saw a fivefold increase, Federal Daniel’s Law §5932(a)(3); in 2021, the

U.S. Marshal’s Service reported 4,511 threats to the federal judiciary, USMS, 2022

Judicial Security Fact Sheet (Feb. 17, 2022), https://tinyurl.com/4r3rb6ym; see also

Chief Justice Roberts, 2024 Year End Report on the Federal Judiciary, U.S.

Supreme Court, https://tinyurl.com/5ckvnvps (noting “significant uptick in

identified threats at all levels of the judiciary”). A key factor is “online access to

information,” which makes it easier “for malicious actors to discover where

individuals live.” Federal Daniel’s Law §5932(a)(2).

      Earlier this year, for instance, police responded to a threat of a bomb in Justice

Amy Coney Barrett’s sister’s mailbox. Mattathias Schwartz & Abbie VanSickle,

Judges Fear for Their Safety Amid a Wave of Threats, N.Y. Times (Mar. 19, 2025),



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https://tinyurl.com/2ftt3pm4. Judge John Coughenour was the victim of a “swatting”

attack. Id. And federal judges have recently been receiving anonymous pizza

deliveries in the name of Judge Esther Salas’ son, Daniel Anderl—the boy murdered

by a deranged attorney with a case before Judge Salas. Jeff Goldman, Pizzas With

N.J. Judge’s Murdered Son’s Name on Them Being Sent To Intimidate Other Judges,

NJ.com (Apr. 15, 2025), https://tinyurl.com/bdefpu8j.

      These threats are not limited to federal judges. In the past three years, at least

three state court judges have been the victims of targeted shootings. S.B. 575, 2024

Leg., 446th Sess. (Md. 2024). In October 2023, hours after a Maryland judge issued

a ruling in a divorce-and-custody case, one of the litigants shot the judge outside his

home. Id.; JA761; see also, e.g., State v. Taupier, 193 A.3d 1, 9 (Conn. 2018)

(threatening message from family-court litigant discussing using long-range rifle to

shoot judge in her home from nearby cemetery). Other public servants, including

law-enforcement officers in New Jersey, have faced similar harms. Just last year, a

county detective named Monica Mosley was shot to death inside her home. Fifth

Person Charged in Connection to Murder of Cumberland County Detective, NBC10

Phila., (Nov. 6, 2024), https://tinyurl.com/96yt4rtb. And myriad harms occur outside

the media spotlight. As the complaints underlying this appeal allege, for example:

one officer was “surveilled along with her young child at home by a major criminal

organization she was investigating”; another had to move after receiving death



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threats at home from MS-13, which then “targeted his mother and attempted to burn

down her building”; and two others “received death threats and demands for

ransom,” after which two armed individuals were arrested circling their house,

“wearing ski masks.” JA98 n.7; see also, e.g., id. (threats suffered by other

plaintiffs); State v. Mrozinski, 971 N.W.2d 233, 237 (Minn. 2022) (threatening letter

and morgue “toe tags” left for child-protective-services officers).

      C.     Daniel’s Law.

      In July 2020, a deranged attorney with a case before Judge Salas murdered

her son, Daniel Anderl, and critically wounded her husband, at the front of door of

their home. JA759. The murderer, who intended to kill Judge Salas, is believed to

have found her address using a “people finder” resource online. Id.

      In the wake of this crime, the New Jersey Legislature enacted Daniel’s Law.

See P.L. 2020, ch.125 (codified as amended at N.J. Stat. Ann. §§ 2C:20-31.1; 47:1-

17; 47:1A-1.1, -5; 47:1B-1 to -3; 56:8-166.1 to -166.3). Daniel’s Law exists “to

enhance the safety and security of certain public individuals in the justice system”

so they can “carry out their official duties without fear of personal reprisal.” N.J.

Stat. Ann. §56:8-166.3. Building on precursor statutes noted above, it achieves those

goals in relevant part by providing judges, law-enforcement officers, prosecutors,

child-protective-services investigators, and immediate family members in the same

household (collectively, “covered persons”) with a civilly enforceable right to



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request that a private person or entity not “disclose” their home address or

unpublished home telephone number going forward. Id. §56:8-166.1(a)(1), (d).

      This civil provision (referred to here as “Daniel’s Law” for simplicity) is an

opt-in. To invoke its protection, an “authorized person” must give the recipient

“written notice” that the requestor “is an authorized person” and request that the

recipient “cease the disclosure of the information.” Id. §56:8-166.1(a)(2). The

recipient then has ten business days to cease such disclosure, id. §56:8-166.1(a)(1),

subject to certain exceptions, id. §56:8-166.1(e)-(f). If the recipient fails to comply,

they are civilly liable, most relevantly for “actual damages, but not less than

liquidated damages” of $1,000 per violation, and “punitive damages upon proof of

willful or reckless disregard.” Id. §56:8-166.1(c). A covered person may assign their

civil claim. Id. §56:8-166.1(d).

      The Legislature also created the Office of Information Privacy (OIP) to

process requests for public agencies not to disclose covered persons’ addresses. Id.

§§ 47:1B-1(b), (c)(1). Because an approved request will generally limit notices and

information the individual receives from the government, OIP must, in approving a

request, obtain an affirmation of these impacts from the requestor. Id. §§ 47:1B-2(a),

(d). If a request is approved, public agencies must cease sharing the covered person’s

information within 30 days. Id. §47:1B-2(b). Under Daniel’s Law today, a covered




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person need not go through the OIP process before asking a private entity to stop

sharing their information.

      Other States, and the Federal Government, have enacted similar laws. Like

New Jersey’s law, these laws apply to specific public servants and household

members and require a written request, and some similarly allow for assignment of

claims. While several such laws use a similar opt-in mechanism, they have shorter

compliance windows and restrict more information.1

      D.     This Litigation.

      Atlas, as claim-assignee for numerous covered persons, sued Appellants for

failing to cease disclosure of those persons’ home addresses and/or unpublished

home phone numbers within ten business days. JA767, 777. Nearly all Appellants

are for-profit entities, including data brokers and marketing companies. Br.15-16.

After removing to federal court, Appellants filed a consolidated motion to dismiss,

asserting that Daniel’s Law is facially invalid under the First Amendment. No. 1:24-



1
  Compare, e.g., Federal Daniel’s Law §§ 5933(2)(A) (covering more extensive
information, including home address, phone number, email, SSN, bank account,
license-plate number, birthdate, and minor children), 5934(b)(1) (claim-
assignment), 5934(d)(2)(A)(i) (three days); Del. Code Ann. tit. 10, §§ 1921(6)
(covering more extensive information), 1923(b)(1) (three days), 1924(d) (claim-
assignment); Haw. Rev. Stat. §§ 92H-1 (covering more extensive information),
92H-2 (three business days); 705 Ill. Comp. Stat. Ann. 90/1-10 (covering more
extensive information), 90/2-5(b)(1) (three days); Md. Code Ann., Cts. & Jud. Proc.
§§ 3-2301(d) (covering more extensive information), 3-2303(d)(1) (three days);
W.Va. Code §5A-8-24(h)(3) (one day).

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cv-4105, ECF 27-28. The district court permitted the NJAG to intervene to defend

the statute. No. 1:24-cv-4141, ECF 17.

      The district court denied Appellants’ motion and found Daniel’s Law facially

constitutional. JA121. First, Judge Bartle held that the statute regulates protected

speech. JA100-01. He concluded that Daniel’s Law is not a commercial-speech

regulation as the expression it limits “does not propose a commercial transaction,”

JA102-03, and that it is content-based because it “regulates particular subject

matter,” JA103-04. But he concluded that strict scrutiny is nevertheless

inappropriate because Daniel’s Law continues a long historical tradition of laws

protecting domestic privacy and “is analogous to the long-standing common law tort

for invasion of privacy.” JA105-08. To adjudicate this speech-versus-privacy

dispute, Judge Bartle therefore applied the framework elucidated in Florida Star,

491 U.S. 524. JA107-09.

      Judge Bartle held that Daniel’s Law satisfied that framework. JA114. First, he

held that the information covered does not generally implicate matters of public

concern, acknowledging that unusual exceptions could be handled through as-

applied challenges. JA109-10.2 Second, he held that Daniel’s Law serves a state

interest of the highest order without the need for further tailoring: “enhanc[ing] the


2
  One such as-applied challenge was argued in the New Jersey Supreme Court on
March 3, 2025. See Kratovil v. City of New Brunswick, No. A-6-24,
https://www.njcourts.gov/cases/a-6-24.

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safety and security of judges, prosecutors, and other law-enforcement officers so that

they are able to carry out their official duties without fear of personal reprisal.”

JA110-11. He also found the statute’s limited exemptions for public agencies did not

render it underinclusive, JA111-12, and disagreed that other features rendered the

law overbroad, JA112-15. Finally, he concluded the New Jersey Supreme Court

would likely construe Daniel’s Law to impose a negligence standard. JA119.

      Judge Bartle certified his order for interlocutory appeal, JA131, and this Court

granted Appellants’ petition, JA141-42.

                           SUMMARY OF ARGUMENT

      The district court correctly denied Appellants’ motion to dismiss and held that

Daniel’s Law is facially valid under the First Amendment.

      I.       Appellants face a high bar to obtain facial relief. NetChoice, 603 U.S.

at 723-24. They do not dispute that Daniel’s Law is “constitutional in some of its

applications.” United States v. Rahimi, 602 U.S. 680, 693 (2024). Nor can they show

the “lopsided ratio” of impermissible applications necessary for First Amendment

overbreadth. United States v. Hansen, 599 U.S. 762, 769-70 (2023). That analysis

requires totaling the law’s “impermissible and permissible” applications and

“compar[ing] the two sets,” NetChoice, 603 U.S. at 726, which typically requires an

evidentiary record that naturally cannot exist on this motion-to-dismiss posture.

Courts have rightly denied similar facial motions to dismiss.



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      II.    Appellants’ facial challenge entails no more than intermediate scrutiny.

      A. As Vidal, 602 U.S. at 300, made clear, even content-based provisions do

not trigger strict scrutiny if longstanding tradition shows they coexist with First

Amendment values. Daniel’s Law continues a tradition of domestic-privacy

protections that has long coexisted with the First Amendment. Because of that

tradition and the lack of any “realistic probability that official suppression of ideas

is afoot,” Davenport v. Wash. Educ. Ass’n, 551 U.S. 177, 188-89 (2007), strict

scrutiny is unwarranted. Instead, the Florida Star framework properly balances

privacy and speech.

      B. Because Daniel’s Law primarily regulates commercial speech, Appellants’

facial challenge is also properly analyzed under Central Hudson, 447 U.S. 557,

regardless of content-neutrality. Courts recognize that disclosing non-expressive

data for profit, with no non-economic purpose, is commercial speech. E.g., Stark,

656 F. Supp. 3d at 1034. Most applications of Daniel’s Law fit this description.

      C. Daniel’s Law also warrants intermediate scrutiny because content does not

drive its coverage. Although Daniel’s Law “requires an examination of speech,” it

is “agnostic as to content.” City of Austin v. Reagan Nat’l Advert. of Austin, LLC,

596 U.S. 61, 69 (2022). Instead, the law protects certain data only where a covered

person has requested nondisclosure, and only because that subclass of data “happens




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to be associated with particular ‘secondary effects.’” R.A.V. v. City of St. Paul, 505

U.S. 377, 389 (1992) (citation omitted).

      III.   Daniel’s Law satisfies any level of facial scrutiny.

      A. Daniel’s Law facially satisfies Florida Star. To start, Appellants do not

dispute that the State’s interests are compelling, and nearly all applications involve

only private concern. No public matter typically turns on whether a particular judge

lives at one specific address or another.

      The law is not overinclusive. Daniel’s Law’s opt-in regime is a hallmark of

its narrow tailoring, as it leaves as much speech unregulated as possible, devolving

control to those best situated to weigh the risks and requiring valid notice and time

to comply. Nor is it overbroad on scienter grounds, as the New Jersey Supreme Court

would likely conclude it operates as a negligent-disclosure law. Finally, Daniel’s

Law is not facially underinclusive, because its exceptions are exceedingly narrow

and easily explained.

      B-C. Similarly, Daniel’s Law satisfies facial scrutiny under Central Hudson,

intermediate scrutiny, or even strict scrutiny. Appellants concede that the State’s

interests are compelling, Br.25; the law’s opt-in regime is amply tailored; and no

less-restrictive means would adequately serve its compelling interests.

      IV.    Alternatively, this Court should certify any state-law questions to the

New Jersey Supreme Court. See N.J. Ct. R. 2:12A-1.



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                            STANDARD OF REVIEW

        This Court exercises de novo review over denial of a Rule 12(b)(6) motion to

dismiss, Johnson v. NCAA, 108 F.4th 163, 175 n.57 (3d Cir. 2024), and “may affirm

on any basis supported by the record,” Children’s Health Def., Inc. v. Rutgers, 93

F.4th 66, 83 (3d Cir.), cert. denied, 144 S.Ct. 2688 (2024).

                                   ARGUMENT

   I.      In Seeking Facial Relief, Appellants Face A High Bar.

        “For a host of good reasons, courts usually handle constitutional claims case

by case, not en masse.” NetChoice, 603 U.S. at 723. For one, such claims “often rest

on speculation about the law’s coverage and its future enforcement.” Id. For another,

they “threaten to short circuit the democratic process by preventing duly enacted

laws from being implemented in constitutional ways,” id.—a problem that increases

“when federal courts are asked to block states from enforcing their laws” amid

uncertainty about their construction, cf. Del. State Sportsmen’s Ass’n, Inc. v. Del.

Dep’t of Safety & Homeland Sec., 108 F.4th 194, 205 (3d Cir. 2024) (making similar

observation in preliminary-injunction context), cert. denied, 145 S.Ct. 1049 (2025).

Such challenges are “hard to win,” and typically require showing the law has no

valid applications, or no “plainly legitimate sweep.” NetChoice, 603 U.S. at 723.

        That high bar is not met here. Appellants themselves indicate they would

accept applications in which a covered person sought to have their information



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removed from public and private sources alike; provided “sufficient” identity-

verifying information; submitted their request in a non-“bundle[d]” form; and

indicated that further disclosure posed significant risks. See Br.37-39. That is hardly

a “hypothetical situation,” Bruni v. City of Pittsburgh, 824 F.3d 353, 363 (3d Cir.

2016), and Appellants do not claim it is. That even Appellants do not dispute that

Daniel’s Law is “constitutional in some of its applications,” Rahimi, 602 U.S. at 693,

easily forecloses facial relief under the usual test.

      That leaves the “less demanding” but “still rigorous” standard that applies in

free-speech cases. NetChoice, 603 U.S. at 723. In such cases, to “provide[] breathing

room for free expression,” courts will strike down statutes as “overbroad” if a

“substantial” number of the law’s applications are unconstitutional, relative to its

“plainly legitimate sweep”—that is, if there is a “lopsided ratio” of unconstitutional

to constitutional applications. Hansen, 599 U.S. at 769-70. Assessing whether such

a ratio exists requires determining both the numerator and the denominator: first

identifying the law’s total coverage; next deciding “which of the law’s applications

violate the First Amendment”; and finally comparing those applications “against the

rest.” NetChoice, 603 U.S. at 724-25. But because this necessarily “destroys some

good along with the bad,” it too is “strong medicine,” not lightly dispensed. Hansen,

599 U.S. at 770.




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      This appeal’s odd posture—arising from the denial of a motion to dismiss—

makes facial relief particularly remote. Because overbreadth requires a court to total

up the law’s “impermissible and permissible” applications and “compare the two

sets,” NetChoice, 603 U.S. at 726, it is an inquiry in which “[e]vidence is key,” Mazo

v. N.J. Sec’y of State, 54 F.4th 124, 152 (3d Cir. 2022), cert. denied, 144 S.Ct. 76

(2023). So courts typically cannot “undertake the needed inquiries” if “the record is

underdeveloped,” NetChoice, 603 U.S. at 726—as it inherently is on this motion-to-

dismiss posture, where no one has tested how many applications of Daniel’s Law

would actually raise the issues Appellants complain of. For similar reasons, courts

have rejected overbreadth challenges brought via motions to dismiss in analogous

data-privacy contexts. E.g., Boelter v. Advance Mag. Publishers Inc., 210 F. Supp.

3d 579, 603 (S.D.N.Y. 2016); Stark, 656 F. Supp. 3d at 1039; see also NetChoice,

603 U.S. at 744 (remanding for lower courts to do this analysis).

      Appellants largely seek to avoid the overbreadth standard, claiming that an

abstract conception of the law “fails strict scrutiny,” and concluding that the law “is,

by definition, facially unconstitutional.” Br.21-22 (citing Bruni, 824 F.3d at 363).

But that is tautological: the question is what “the relevant constitutional test” is,

Bruni, 824 F.3d at 363, and then whether sufficient applications would fail it. (They

do not.) And as NetChoice made clear, courts cannot do this analysis in the abstract,

with an “underdeveloped” record. 603 U.S. at 726. Instead, this Court must first



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determine what Daniel’s Law covers, and then assess how each of those applications

would fare under the relevant form of scrutiny.

   II.        This Facial Challenge Implicates Less-Than-Strict Scrutiny.

         Even leaving those concerns to the side, for three independent reasons this

facial challenge should implicate no more than intermediate scrutiny. As Judge

Bartle recognized, Daniel’s Law continues a tradition of protections for privacy in

the home that have long coexisted with the First Amendment, which makes Florida

Star or a similar framework appropriate. Were this Court to apply traditional tiers of

scrutiny, heartland applications of Daniel’s Law’s regulate only commercial speech,

warranting Central Hudson scrutiny. Finally, Daniel’s Law is content-neutral,

offering a third reason to apply intermediate scrutiny.

         A.     The Longstanding Coexistence Of Domestic-Privacy Laws And The
                First Amendment Supports Reduced Scrutiny.

         As Vidal, 602 U.S. 286, recently made clear, even content-based provisions

do not trigger strict scrutiny if longstanding tradition shows they coexist with First

Amendment values. Id. at 300-01. As a law safeguarding privacy in the home,

Daniel’s Law fits within such a longstanding tradition. Judge Bartle therefore

correctly declined to apply strict scrutiny, and the framework he drew from Florida

Star properly balances these coequal constitutional interests.




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             1.     Daniel’s Law Continues An Established Tradition.

      Vidal reaffirms a sensible doctrinal point: established legal traditions do not

ineluctably trigger strict scrutiny just because they happen to regulate some types of

speech and not others. There, the Court held that even though the Lanham Act’s

prohibition on registering trademarks identifying living persons by name without

consent is formally content-based, 602 U.S. at 294-95, heightened scrutiny was

inappropriate given the history and tradition of trademark regulation, which largely

could not function with some content-based features, id. at 299-300. In other words,

content-based laws do not trigger heightened scrutiny if longstanding tradition

shows that any content-discrimination arises organically from the nature of the

regulation and does not threaten free speech. See id. at 300; see also id. at 299 (noting

that such a “longstanding, harmonious relationship” belies a need for “heightened

scrutiny”); id. at 312 (Barrett, J., concurring) (observing that such traditions will

often reflect that a law “has always been content based without functioning as a

ready tool of Government censorship”). And where there is “no realistic possibility

that official suppression of ideas is afoot,” strict scrutiny is unwarranted. Davenport,

551 U.S. at 188-89; see Vidal, 602 U.S. at 311 (Kavanaugh, J., concurring) (“[I]n

my view, a viewpoint-neutral, content-based trademark restriction might well be

constitutional even absent such a historical pedigree.”).




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      Citing Vidal, the Tenth Circuit in VoteAmerica v. Schwab, 121 F.4th 822 (10th

Cir. 2024), recently applied intermediate scrutiny and upheld a content-based law

prohibiting private parties from partially filling out a mail-ballot application sent to

a registered voter absent that voter’s consent. Id. at 850 The court reasoned that

restrictions on when “someone can fill out for another person a government form

seeking noncontroversial information do not on their face suggest hostility to any

idea or point of view.” Id. at 851. And “like the ‘uniquely content-based nature of

trademark regulation,’ the history of regulations (instructions) governing the filling

out of noncontroversial information on government forms provides substantial

comfort that such regulation is fully compatible with a lively market in controversial

ideas.” Id. (quoting Vidal, 602 U.S. at 300).

      Because protections for privacy and safety in the home have similarly “deep

roots in our legal tradition,” heightened scrutiny is inappropriate here too. See Vidal,

602 U.S. at 301. As noted, see supra at 4-6, the home has occupied a special role “as

a haven for solitude and intimacy and as a barrier against intrusion by uninvited

outsiders” since before the Founding. Flaherty, supra, at 85. This right has been

enforced through various means, including prohibitions against eavesdropping, data

restrictions, do-not-call provisions, and tort. See supra at 4-6. Courts have repeatedly

recognized the need to preserve the home’s “sanctity” and acknowledged “that

unwilling listeners may be protected when within their own homes.” Frisby, 487



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U.S. at 484-85; see also De May, 9 N.W. at 149 (acknowledging plaintiff “had a

legal right to the privacy of her apartment”); Mainstream Mktg. Servs. v. FTC, 358

F.3d 1228, 1236-37, 1242 (10th Cir. 2004) (upholding national “do-not-call”

registry). Through it all, “[t]he right to speak and the right of privacy have been

coexistent.” Pavesich, 50 S.E. at 73.

      Privacy protections have also expanded to encompass personal information.

While basic protections date to the nineteenth century, see supra at 5, these

protections have evolved with technology, see Dirkes v. Borough of Runnemede, 936

F. Supp. 235, 238 (D.N.J. 1996) (collecting federal privacy statutes); supra at 5-6

(collecting federal statutes). The VPPA, for instance, arose in the wake of disclosure

of Judge Bork’s video-rental history, amid “the then-nascent threat of computerized

mass-data collection.” Stark, 656 F. Supp. 3d at 1026-27.

      These twin privacy traditions dovetail in the context of protections for

information that exposes individuals to harassment or violence in their homes. The

Privacy Act restricts disclosure of home addresses of federal employees. U.S. Dep’t

of Def. v. FLRA, 510 U.S. 487, 502 (1994). Other laws prohibit a company from

disclosing a caller’s telephone number without that caller’s consent. Barasch v. Bell

Tel. Co. of Pa., 605 A.2d 1198, 1202-03 (Pa. 1992) (Pennsylvania Wiretap Act).

And since the rise of the Internet, New Jersey and other States have acted to protect

the privacy and safety of individuals particularly likely to suffer targeting in the



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home—from victims of domestic violence and sexual assault to, as relevant here,

public servants facing growing threats simply because of the jobs they do. See supra

at 6.

        Daniel’s Law is part of this longstanding tradition. The law allows individuals

to protect two pieces of sensitive personal data—their home address and unpublished

home phone number—by making an affirmative, written request. N.J. Stat. Ann.

§56:8-166.1(a). It thus allows them to safeguard the precise information that would

enable malicious actors to attack or harass them at home. And like the TCPA and

comparable do-not-call provisions, it is an opt-in.3 Because similar laws have long

operated in harmony with free-speech values—and because, as Appellants concede,

the statute was adopted through benign motives, with no “realistic possibility that

official suppression of ideas is afoot,” Davenport, 551 U.S. at 188-89—the law does

not merit strict scrutiny. Accord JA106-07.

        Appellants’ counterarguments are unpersuasive. First, Appellants claim that

Daniel’s Law is not a privacy statute because it is intended “to enhance the safety

and security of certain public officials.” Br.44. But Judge Bartle rightly rejected this

false dichotomy, as Daniel’s Law safeguards residential privacy in order to protect



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  Appellants’ suggestions that Daniel’s Law itself prohibits speech, e.g., Br.25-28,
are therefore misstated. The law prohibits no speech; it instead provides a covered
person a civilly enforceable right to request that a specific speaker stop sharing their
information.

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“safety and security.” JA106. The history of other privacy laws reveals similarly

intertwined interests. E.g., Dahlstrom, 777 F.3d at 944 (noting DPPA is “a public

safety measure”). That such privacy laws respond to risks graver than annoyance or

embarrassment hardly counts against their facial validity.

      Second, Appellants err in claiming that Daniel’s Law does not fit within

historical privacy laws because “contact information is public” via some government

lists. Br.44. Initially, a person’s interest in protecting personal information “does not

dissolve simply because that information may be available to the public in some

form.” FLRA, 510 U.S. at 500.4 Moreover, such records are less accessible than

information posted on open websites, operated by private entities. See U.S. Dep’t of

Just. v. Reps. Comm. For Freedom of Press, 489 U.S. 749, 764 (1989) (RCFP)

(noting “vast difference between the public records that might be found after a

diligent search … and a computerized summary located in a single clearinghouse”).

And here, Daniel’s Law already enables covered persons to restrict access to nearly

all of these sources, with only one narrow exception for non-mortgage liens,

obtainable only county-by-county. See N.J. Stat. Ann. §46:26A-6; id. §47:1B-3(a);

see also infra at 50-51. That does not diminish the privacy interests associated with

such information—much the same way a person has a substantial interest in


4
  Appellants chide Judge Bartle for relying on FOIA decisions, Br.46-47, but he
properly considered these precedents for what they reveal about privacy interests—
not to suggest that FOIA and free speech are interchangeable. See JA105.

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protecting her Social Security number (SSN) even if it remains obtainable with

enough effort. See RCFP, 489 U.S. at 764; Ostergren v. Cuccinelli, 615 F.3d 263,

279-80 (4th Cir. 2010).

      Third, Appellants’ related argument that there is “a long historical tradition of

public access to” home addresses and telephone numbers, Br.45, misapprehends the

core issue. Indeed, most people’s contact information is publicly available. But

Daniel’s Law does not prohibit sharing contact information as a general matter; it

applies only following a request to stop, so a history of general availability is not

inconsistent. Instead, the probative history is “that a significant number of persons,

ranging from public officials and performers to just ordinary folk, choose to list their

telephones privately”—and have been understood to have a right to do so—“because

they regard their home addresses to be private information.” See Paul P. v. Farmer,

227 F.3d 98, 101 (3d Cir. 2000); JA105. Moreover, because individuals generally

cannot predict in advance whether they will become covered persons, the default

availability of a person’s address before she is a covered person cannot logically

preclude her from taking action once she is a covered person.

      Fourth, Appellants’ claim that Daniel’s Law is not analogous to historic

privacy laws because those laws did not typically extend to home addresses, Br.45-

46, misconstrues the proper analysis. In Vidal, the historical analogues on which the

Court relied were not twins of the Lanham Act’s names clause, but rather revealed



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the general principle that because trademark law entails content differentiation and

has long coexisted with the First Amendment, the names clause did not warrant strict

scrutiny. 602 U.S. at 295-300; cf. Rahimi, 602 U.S. at 740 (Barrett, J., concurring)

(“Historical regulations reveal a principle, not a mold.”). So too with privacy. For

instance, while the tort of intrusion on seclusion predated modern technology, it has

evolved to encompass protections for a person’s personal information, which in

many cases facilitate a physical intrusion. See, e.g., In re Nickelodeon Consumer

Privacy Litig., 827 F.3d 262, 294-95 (3d Cir. 2016); Dirkes, 936 F. Supp. at 238-39.

The same logic applies to public disclosure of private facts—even if, in an earlier

time, a home address was less likely to trigger the concerns it triggers today. In short,

that our legal tradition has long safeguarded residential privacy and safety, in

harmony with the First Amendment, explains why related efforts to do so amid

today’s technological context likewise merit reduced scrutiny.

      Finally, Appellants’ two cited cases—Brayshaw v. City of Tallahassee, 709

F. Supp. 2d 1244 (N.D. Fla. 2010), and Sheehan v. Gregoire, 272 F. Supp. 2d 1135

(W.D. Wash. 2003)—are not to the contrary. Br.43-44. Brayshaw involved a blanket

prohibition on disclosure of a law-enforcement officer’s information absent the

employing agency’s “authorization.” 709 F. Supp. 2d at 1247. And Sheehan

similarly involved a law prohibiting disclosure of certain public employees’

information absent “express written permission.” 272 F. Supp. 2d at 1139. Both laws



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thus imposed a default prohibition, unless a protected party opted out. So Brayshaw

and Sheehan are both non-binding and inapposite, because a default ban—as

opposed to a law empowering individuals to opt into nondisclosure—poses a greater

risk to speech. That risk is absent here.5

             2.     The Florida Star Framework Properly Balances Privacy And
                    Speech.

      Given this longstanding legal tradition, Judge Bartle was correct to forgo strict

scrutiny. His application of the Florida Star framework instead properly balanced

privacy and speech.

      In Florida Star, the Supreme Court considered a newspaper’s as-applied

challenge to a Florida law prohibiting publication of a sexual-assault victim’s name,

after the newspaper had obtained the name from a report placed in the local sheriff’s

department’s pressroom. 491 U.S. at 526-27. Recognizing that privacy and speech

rights are “both ‘plainly rooted in the traditions and significant concerns of our

society’” and emphasizing “the sensitivity and significance of the interests presented

in clashes between” those rights, the Court concluded that its analysis should “sweep

no more broadly than the appropriate context of the instant case.” Id. at 533. To


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  Nor does Barr v. American Association of Political Consultants, Inc., 591 U.S. 610
(2020), or Sorrell v. IMS Health Inc., 564 U.S. 552 (2011), support heightened
scrutiny. Contra FIRE.Br.12-13; CDIA.Br.9. While those cases involved privacy
laws, neither concerned domestic safety. See Barr, 591 U.S. at 613 (robocalls to
cellphones); Sorrell, 564 U.S. at 557 (physicians’ prescribing practices). Both also
had tailoring flaws that Daniel’s Law lacks. See infra at 49-50.

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perform this case-specific balancing, the Court drew from Smith v. Daily Mail

Publishing Co., 443 U.S. 97 (1979), to articulate a balancing test that required

considering both (1) whether the newspaper “lawfully obtain[ed] truthful

information about a matter of public significance,” and (2) whether the law served

“a need to further a state interest of the highest order.” Fla. Star, 491 U.S. at 536-

37. To analyze that second question, the Court looked to: (a) how the information

was obtained; (b) the “sweep” of the statute (there, focusing on the lack of “a scienter

requirement”); and (c) “the facial underinclusiveness” of the statute. Id. at 538-40.

      The Florida Star test thus balances privacy and speech interests in an

appropriately sensitive manner. It ensures that speech on matters “of public concern”

receive greater protection than speech on purely private topics, consistent with core

First Amendment principles, e.g., Snyder v. Phelps, 562 U.S. 443, 451-52 (2011),

while requiring meaningful but not least-restrictive-means-level tailoring. In other

words, it approximates strict scrutiny if speech is on a matter of public concern, and

intermediate scrutiny if not.6 It was therefore wholly appropriate for Judge Bartle to

apply it to resolve this privacy-versus-speech dispute.

      That approach also comports with this Court’s decision in Schrader v. District

Attorney of York County, 74 F.4th 120 (3d Cir. 2023). Contra Br.42-43. Schrader


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  Accordingly, Appellants are incorrect to suggest that this test is more exacting than
strict scrutiny. See Br.48. Relatedly, Appellants’ reliance on cases applying
RLUIPA’s least-restrictive-means test, Br.37, is misplaced.

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involved an as-applied First Amendment challenge to a Pennsylvania law

criminalizing the purposeful release of child-abuse records, brought by the

grandmother of a deceased two-year-old who wished to criticize how local officials

had handled the child’s case. Id. at 123. In adjudicating that challenge, this Court

acknowledged two lines of precedent: one applying strict scrutiny to content-based

speech regulations, and the other applying Florida Star. Id. at 126. While noting that

the Florida Star “test fits oddly with our modern focus on content-based

restrictions,” this Court acknowledged that “its principle seems to date to the

Founding,” and it “understandably stands apart from the content-focused analysis.”

Id. at 128. While this Court did not need to “reconcile these two lines of precedent”

in that as-applied context because the answer was clearly the same under either, id.

at 126, the facts and posture here are distinct: Appellants press a facial challenge,

and the precise home address of the mine-run covered person is not “significant to

the public,” unlike the child-abuse records at issue in Schrader. Id. at 128. So the

age-old principles reflected in Florida Star have something different to say here—

and if they appear in tension with content-discrimination doctrine, Vidal shows how

to reconcile the two.

      B.     Most Applications Impact Only Commercial Speech.

      The denial of Appellants’ facial motion should also be affirmed because

Daniel’s Law primarily regulates only commercial speech. Those applications are



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thus subject to Central Hudson scrutiny. See 447 U.S. at 566; City of Austin, 596

U.S. at 68 n.3, 73-74 (even content-based commercial-speech restrictions are subject

to Central Hudson). They easily satisfy it.

      While no bright-line test distinguishes commercial from non-commercial

speech in all circumstances, courts examine three non-exclusive factors. Those

factors are: (1) whether “the speech refer[s] to a specific product or service,” (2)

whether the speech is an advertisement; and (3) whether the speaker has “an

economic motivation for the speech.” Greater Phila. Chamber of Com. v. City of

Philadelphia, 949 F.3d 116, 137 (3d Cir. 2020).

      Courts applying this “fact-driven” rubric, Ariix, LLC v. NutriSearch Corp.,

985 F.3d 1107, 1115 (9th Cir. 2021), regularly hold that disclosing personal

information for profit is commercial speech. They do so, for instance, with respect

to restrictions on sharing data in the media context, since the information “is

arguably itself a product,” with disclosure “motivated by the commercial interests

of both” the seller and the buyer—particularly where the data has “no expressive or

creative content,” “contain[s] nothing of public interest, and serv[es] no non-

economic purpose.” Stark, 656 F. Supp. 3d at 1033-34 (VPPA); see also Saunders

v. Hearst Television, Inc., 711 F. Supp. 3d 24, 32-33 (D. Mass. 2024) (same); Boelter

v. Hearst Commc’ns, Inc., 192 F. Supp. 3d 427, 445 (S.D.N.Y. 2016) (similar

Michigan law); Advance Mag., 210 F. Supp. 3d at 597 (Michigan Preservation of



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Personal Privacy Act). So too with consumer-debt information shared by debt

collectors. See, e.g., Trans Union Corp. v. FTC, 267 F.3d 1138, 1140-42 (D.C. Cir.

2001).

      Here, mine-run applications of Daniel’s Law likewise regulate only

commercial speech. These applications apply to data brokers and the like—for-profit

companies that transmit gigabytes of personal information each day. E.g., JA773;

accord Br.15-16 For these applications, the information itself is the “specific

product,” and is driven solely by “an economic motivation.” Greater Phila.

Chamber, 949 F.3d at 137. Moreover, these applications impact “no expressive or

creative content,” contain “nothing of public interest,” and serve “no non-economic

purpose.” Stark, 656 F. Supp. 3d at 1034. So even accepting that these companies

are speaking in the formal sense, “reduced constitutional protection” is warranted.

See Dun & Bradstreet, Inc. v. Greenmoss Builders, Inc., 472 U.S. 749, 761-62 & n.8

(1985).

      The counterpoint that this speech “does not propose a commercial

transaction,” Br.24 (quoting JA103), is unpersuasive. While advertisements are the

paradigmatic example of commercial speech, e.g., Harris v. Quinn, 573 U.S. 616,

648 (2014), they are not its exclusive remit, Greater Phila. Chamber, 949 F.3d at

137. And in any event, just as hanging a dress in the display window at Macy’s does




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indeed propose a transaction, putting a judge’s home address in the online corollary

of that display window for $1.95 does, too. See supra at 7.

      Appellants’ citations to Dex Media West, Inc. v. City of Seattle, 696 F.3d 952

(9th Cir. 2012); Vrdolyak v. Avvo, Inc., 206 F. Supp. 3d 1384 (N.D. Ill. 2016); and

IMDb.com v. Becerra, 962 F.3d 1111 (9th Cir. 2020), are inapposite. Br.24.

Vrdolyak concerned a free online attorney directory, which that court reasoned did

not engage in commercial speech simply because it ran advertisements. 206 F. Supp.

3d at 1388-89. Similarly, Dex Media West involved a challenge to a municipal

ordinance regulating telephone directories “as a whole.” 696 F.3d at 957. That court

reasoned that the directories had “more than a commercial purpose,” because they

featured     significant   non-commercial      information,   including   “community

information,” id.; their advertisements took “only a limited fraction of the space,”

id. at 963; and the State required phone companies to distribute the directories, id. at

957. None of those rationales suggest that for-profit disclosure of a judge’s home

address, without more, is non-commercial. Cf. IMDB.com, 962 F.3d at 1121-22

(finding wiki-style database including actors’ ages was non-commercial speech, as

content was “encyclopedic, not transactional”).

      Finally, even if Daniel’s Law entails some non-commercial applications, the

large number of commercial applications makes a difference in this facial posture.

Courts confronting statutes with mixed commercial and non-commercial



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applications begin with the commercial applications and only then, assuming those

applications are valid, consider whether the law is nevertheless overbroad. See Bd.

of Trustees of State Univ. of N.Y. v. Fox, 492 U.S. 469, 481, 485 (1989); Am. Future

Sys. v. Penn State Univ., 752 F.2d 854, 862 & n.26 (3d Cir. 1984). That approach is

also the only one that comports with NetChoice. See 603 U.S. at 725 (noting, for one

set of provisions, that the lower courts should consider “as to each thing covered,”

whether it satisfies the test that applies to commercial disclosures). Put simply, if a

hypothetical law has 100 applications, of which 80 cover commercial speech and

satisfy Central Hudson, it is hard to see how NetChoice would permit striking down

the entire law by applying strict scrutiny to the other twenty.

      C.     Daniel’s Law Is Content Neutral.

      A third basis likewise justifies less-than-strict scrutiny: Daniel’s Law is

content-neutral. While the law applies to some types of data and not others—e.g.,

addresses but not birthdays—the feature that drives coverage is not content itself.

      No law addresses all problems at once. To avoid the perverse results that

would flow from applying strict scrutiny to all laws that even incidentally affect

some kinds of speech but not others, courts distinguish laws that “target[] speech …

because of the topic discussed or the idea or message expressed” from those that are

“agnostic as to content.” City of Austin, 596 U.S. at 69 (emphasis added). This makes

sense, because “‘the rationale [for] the general prohibition’ on content-based



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regulations ‘is that content discrimination raises the specter that the Government

may effectively drive certain ideas or viewpoints from the marketplace.’” Project

Veritas v. Schmidt, 125 F.4th 929, 949 (9th Cir. 2025) (en banc) (quoting Davenport,

551 U.S. at 188). But where a legislature treats one subclass of speech differently

simply because “that subclass happens to be associated with particular ‘secondary

effects,’” and “there is no realistic possibility that official suppression of ideas is

afoot,” there is no need to apply strict scrutiny. R.A.V., 505 U.S. at 389-90 (citation

omitted).

      A law can therefore be “agnostic as to content,” even if it “requires an

examination of the speech,” so long as that examination is “only in service of

drawing neutral … lines.” City of Austin, 596 U.S. at 69. Under such circumstances,

assessing whether a law is content-based requires assessing why that examination is

required. Thus, in the sign-code context, courts first “identify the regulated category

and a comparable category that is treated differently”; then “discern what feature

distinguishes” the two categories; and finally “decide whether that feature is the

sign’s [content].” Camp Hill Borough Republican Ass’n v. Borough of Camp Hill,

101 F.4th 266, 269 (3d Cir. 2024).

      Here, that comparative exercise shows that Daniel’s Law is content-neutral.

Daniel’s Law protects certain data only when a covered person has expressly

requested nondisclosure, and only because this data uniquely allows wrongdoers to



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target covered persons and their families at home. Thus, if Judge A has requested

nondisclosure and Judge B has not, the feature that distinguishes their addresses is

whether Judge A has deemed her family at sufficient risk to request nondisclosure—

not the content of the addresses. Similarly, if Judge A is a covered person and Person

C is not, the feature that distinguishes their addresses is that Judge A and her family

are uniquely at risk because of the work Judge A does—not content. See id. at 269-

70; see also Dahlstrom, 777 F.3d at 949 (finding DPPA content-neutral). And even

if one compares home addresses and birthdays, the feature that drives the difference

is not governmental favoring of address information qua address information (or

targeting of birthdays qua birthdays), but rather that only the former happens to

entail certain “secondary effects,” R.A.V., 505 U.S. at 389—the risk of serious harm

to Judge A or her family in their home.

   III.    Daniel’s Law Satisfies Facial Scrutiny.

      Daniel’s Law satisfies any level of scrutiny. Judge Bartle correctly concluded

that Daniel’s Law survives under Florida Star. For similar reasons, Daniel’s Law

facially satisfies Central Hudson or intermediate scrutiny, and would satisfy even

strict scrutiny if it were warranted.

      A.      Daniel’s Law Satisfies Facial Scrutiny Under Florida Star.

      Judge Bartle properly concluded that Daniel’s Law is constitutional under

Florida Star. See JA107-13. As noted, Florida Star considered (1) whether a speaker



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“lawfully obtained truthful information about a matter of public significance,” and

(2) whether the law served “a need to further a state interest of the highest order.”

Id. at 536-37. To analyze that second question, the Court looked to: (a) how the

information was obtained; (b) the statute’s “sweep” (particularly, its lack of a

scienter requirement); and (c) the statute’s “facial underinclusiveness.” 491 U.S. at

538-40. Here, the NJAG does not dispute the information is true and lawfully

obtained, and Appellants do not dispute the State’s interests are “compelling.” Br.18,

25; see also JA110-11. So the questions at issue are whether most applications of

Daniel’s Law involve a matter of public concern, and whether the law is

impermissibly over- or underinclusive. Each weighs against Appellants’ facial

challenge.

             1.     Daniel’s Law Facially Implicates Only Private Concern.

      That few if any applications implicate matters of public concern is

straightforward. “Speech deals with matters of public concern when it can ‘be fairly

considered as relating to any matter of political, social, or other concern to the

community,’ or when it ‘is a subject of legitimate news interest,’” based on “the

content, form, and context of [the] speech.” Snyder, 562 U.S. at 453; see also Cox

Broad. Corp. v. Cohn, 420 U.S. 469, 492 (1975) (rooting test in public’s need “to

vote intelligently,” “register opinions on the administration of government,” and

oversee “the administration of justice”). For example, signs criticizing “the political



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and moral conduct of the United States and its citizens,” fall on the public-concern

side, Snyder, 562 U.S. at 454, while details from family court involving litigants

“drawn into a public forum largely against their will” do not, Time, Inc. v. Firestone,

424 U.S. 448, 450-52, 457 (1976). Similarly, while the names of crime victims, Fla.

Star, 491 U.S. at 536-37, and accused individuals, Daily Mail, 443 U.S. at 103;

Bowley v. City of Uniontown Police Dep’t, 404 F.3d 783, 787-88 (3d Cir. 2005), are

often of public concern, their addresses or phone numbers presumably are not, see

Trans Union Corp., 267 F.3d at 1140.

      Here, a covered person’s home address and phone number are virtually never

of public concern. Absent unusual circumstances, whether Officer Smith lives at 123

Main Street or 456 Broad Street has no bearing on anyone’s ability participate in

self-government. See Cox, 420 U.S. at 492. And while the NJAG agrees that the city

and state of a covered person’s residence will sometimes be “necessary for public

oversight,” Br.51, New Jersey courts have already (correctly) agreed that Daniel’s

Law does not regulate city-and-state information at all, see Kratovil v. City of New

Brunswick, No. A-0216-23, 2024 WL 1826867, at *5 (N.J. Super. Ct. App. Div. Apr.

26, 2024)—just as no one would say that Jalen Hurts’s “home address” is

“Philadelphia.” In short, a covered person’s precise address or phone number is

seldom a matter of public concern. JA109.




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      Nor do Sheehan, 272 F. Supp. 2d 1135, or Brayshaw, 709 F. Supp. 2d 1244,

compel a different conclusion. Br.51. Both involved posting police officers’

information on websites discussing police accountability and the difficulty of

serving process or subpoenas on officers. See Sheehan, 272 F. Supp. 2d at 1139 n.2;

Brayshaw, 709 F. Supp. 2d at 1249. Even assuming arguendo that those decisions

correctly applied the public-concern test, this is a facial challenge, and the mine-run

applications are to businesses disclosing myriad addresses with no nexus to

“legitimate news interest” or “value and concern to the public.” See Snyder, 562 U.S.

at 453; see supra at 36-37.

      Appellants are also misguided in arguing that because home addresses and

phone numbers are publicly available by default, the State has placed the information

“in the public domain,” so it “must be presumed to have concluded that the public

interest was thereby being served.” Br.49-50. To be sure, in Cox, the Court

concluded that because the State made a victim’s name available in an indictment,

“the State must be presumed to have concluded that the public interest was thereby

being served.” 420 U.S. at 495; see also Fla. Star, 491 U.S. at 538 (including

victim’s name in “an incident report made available in a pressroom” served to

“undercut” State’s policy against disclosing rape victims’ identities). But that kind

of case-specific, public-interest-by-estoppel theory is ill-suited to a statutory regime

that leaves private individuals free to share home addresses and phone numbers



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before a covered person requests nondisclosure. See supra at 9-11; see also

Ostergren, 615 F.3d at 282-83 (distinguishing Florida Star cases as implicating a

“conception of privacy” “predicated upon secrecy,” whereas statutes like Daniel’s

Law involve a conception of privacy that “hinges upon [a person’s] control” of her

information).

              2.     Daniel’s Law Is Not Facially Overinclusive.

       Daniel’s Law’s substantive provisions reveal no facial overinclusivity. Judge

Bartle also correctly predicted that New Jersey courts would construe the law to

impose a negligence standard.

                       i.   Daniel’s Law’s Substantive Provisions Sweep No Further
                            Than Is Warranted.

       To start, as an opt-in regime, Daniel’s Law leaves as much speech unregulated

as possible, prohibiting disclosure only after an authorized person has “provide[d]

written notice” and the recipient has had “10 business days” to comply. N.J. Stat.

Ann. §56:8-166.1. Such opt-in mechanisms are a hallmark of narrow tailoring, as

decisions involving do-not-call registries reflect. See Mainstream Mktg., 358 F.3d at

1236-46 (upholding constitutionality of national “do-not-call” registry). Such

mechanisms do “not over-regulate protected speech,” but rather tailor coverage to

speech “targeted at unwilling recipients.” Id. at 1242 (“speech restrictions based on

private choice ... are less restrictive than laws that prohibit speech directly”); see also

Rowan v. U.S. Post Off. Dep’t, 397 U.S. 728, 738 (1970) (upholding similar law


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allowing removal from mass-mailing lists); Nat’l Fed’n of the Blind v. FTC, 420

F.3d 331, 342 (4th Cir. 2005) (do-not-call provision was a “permissibly narrow

means of protecting the home environment”); cf. Martin v. City of Struthers, 319

U.S. 141, 147-49 (1943) (ordinance prohibiting door-to-door canvassing could have

been less restrictive by giving residents the option to prohibit visitors). Much like

these permissible opt-in regimes, Daniel’s Law does not prohibit any disclosures

unless a valid request has been received. Moreover, by giving recipients ten business

days to comply, N.J. Stat. Ann. §56:8-166.1(a)(1), Daniel’s Law affords more time

than other, similar laws, see supra at 11 n.1.

      The law also prohibits disclosure to others but does not prevent continued

possession. See N.J. Stat. Ann. §56:8-166.1(a) (restricting only “disclosure”);

Disclose, Merriam-Webster.com (“to make known or reveal to another or to the

public”). And while Appellants claim the law’s definition of “disclosure” is too

broad, Br.26-27, they overlook that its scope is necessary to adequately advance the

law’s interests. For example, if Daniel’s Law did not prohibit disseminating

“addresses to businesses for use in marketing campaigns” or “to law firms to

facilitate service of process,” Br.26, it would not achieve its goals as effectively.

Indeed, the man who murdered Daniel Anderl was himself a lawyer. JA93, JA759.7


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 Moreover, nothing in the Rules of Civil Procedure requires that process be served
at one’s home. See N.J.Ct.R. 4:4-3(a) (allowing service at workplace); Fed. R. Civ.
P. 4(e)(1) (allowing service per state law).

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      Nor does “‘delivering’ addresses to businesses in connection with credit

checks” and “transferring” an address or phone number “to a vendor” for shipping

products, Br.26-27, run afoul of Daniel’s Law. In those hypotheticals, the covered

person would have had to first send a nondisclosure request to the business and then

either authorize a credit check or order a product to be shipped from the business.

Such a request would naturally operate as a limited waiver of the nondisclosure

request. Similarly, Appellants leave unclear why businesses would need to share

addresses with third parties to prevent bank fraud. Br.26. But presumably, if a

covered person sought to open a bank account, that person would supply the bank

with their address—and the bank could ask that would-be customer to execute a

waiver if some third-party verification were needed.8

      Nor does Daniel’s Law’s lack of a verification process for private entities raise

overinclusiveness problems. Br.29-30. To start, Appellants cite no case invalidating

a statute for lack of verification in an opt-in mechanism. Further, nothing in Daniel’s

Law prevents a business from using its own data to verify a request or seeking

additional information from the requestor, and a claimant must still show that she is



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  That also explains why Daniel’s Law is not overinclusive for declining to include
the exemptions provided in New Jersey’s Data Privacy Law (NJDPL), N.J. Stat.
Ann. §§ 56:8-166.4 to -166.19. Contra CDIA.Br.18-19. The NJDPL gives
consumers certain privacy rights, but the interests it protects are not identical. The
Legislature validly concluded that Daniel’s Law would not adequately protect the
safety of covered persons if it included the NJDPL’s exemptions.

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a covered person and that a valid written request was received to prevail in a lawsuit.

Moreover, if Appellants sought verification in good faith (e.g., difficulty

distinguishing two John Smiths) and the requestor refused or failed to timely provide

it, there could be valid statutory or as-applied defenses. Cf., e.g., Borough of

Princeton v. Bd. of Chosen Freeholders, 777 A.2d 19, 32 (N.J. 2001) (discussing

equitable defenses). But that is no basis for facial invalidation, where few

applications will raise these factbound concerns.

      Meanwhile, the State’s own approval mechanism for requests seeking

redaction of its own agencies’ records exists for good reason: an approved request

to a public entity will generally impact a person’s rights, by limiting the notices and

information she receives from the government. See N.J. Stat. Ann. §47:1B-2(d)

(requiring requestors to affirm their understanding of these impacts). Given those

unique impacts, it is reasonable for the State to expend resources reviewing those

requests. But no authority suggests a State’s decision not to subsize industry’s

compliance with a corresponding opt-in mechanism creates a tailoring problem.

      The claim-assignment and liquidated-damages provisions do not present

tailoring problems either. Br.30-31. On the former, claim-assignment is a recognized

means of ensuring litigants can better vindicate their rights. See, e.g., Vt. Agency of

Nat. Res. v. U.S. ex rel. Stevens, 529 U.S. 765, 771-78 (2000) (discussing qui tam

actions). And properly understood, that choice has no First Amendment implications



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at all: a provision expanding who can communicate a covered person’s request to

invoke Daniel’s Law protections “impose[s] no more restrictions on the plaintiffs’

speech” than a statute without one. See Free Speech Coal., Inc. v. Att’y Gen., 974

F.3d 408, 425 (3d Cir. 2020). In any event, as Judge Bartle observed, claim-

assignments “make the enforcement more effective”—otherwise, “many covered

persons may find” the process “too difficult, too cumbersome, or too expensive.”

JA115. Rather than evincing a lack of tailoring, this provision permissibly advances

the State’s compelling interests.

      Appellants’ liquidated-damages argument is similarly misplaced. The

numerical civil penalty a legislature chooses “is not a basis to decide” a law “could

be less restrictive,” because (at least outside of fantastical hypotheticals) it has no

bearing on what the law covers. Free Speech Coal., 974 F.3d at 425; see Fort Wayne

Books, Inc. v. Indiana, 489 U.S. 46, 59-60 (1989) (size of penalties not “significant”

under First Amendment). Were it otherwise, States would have greater leeway to

restrict protected speech simply by reducing the fines, and courts would be

responsible for parsing the quantum of various penalty provisions. Free Speech

Coal., 974 F.3d at 425-26. By contrast, Schrader involved a threat of criminal

prosecution—a difference in kind—on as-applied facts. 74 F.4th at 127. Contra

Br.39. It did not overrule precedent that the First Amendment does not police the

marginal dollar value assigned to civil violations, least of all on facial review.



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      Daniel’s Law is also not overinclusive based on its reference to “unpublished”

home phone numbers. Br.31. To start, telephone directories still exist, and the

concept of an unpublished number is well understood: it denotes a number that is

not listed in a local directory. E.g., Cal. Pub. Util. Code §2891.1(h). Moreover, the

use of “unpublished” simply gives a defendant a potential statutory defense—if the

person’s number is publicly listed, it is not covered by the law. That makes the law

narrower, not broader.

                     ii.   Daniel’s Law Imposes A Negligence Standard.

      Daniel’s Law is also not overbroad on scienter grounds, as the New Jersey

Supreme Court would likely conclude (as Judge Bartle predicted) that it operates as

a negligent-disclosure law. See JA119-20. Background state-law principles, as well

as the law’s text, structure, context, and purpose, all confirm as much.

      New Jersey courts embrace a strong presumption “that the legislature intended

to act in a constitutional manner,” and thus, whenever possible, construe a statute

“to conform to the Constitution.” State v. Burkert, 174 A.3d 987, 998 (N.J. 2017).

Where a law has two potential meanings—“a narrow one” that would pass muster

“and a broader one that raises serious constitutional issues”—New Jersey law

requires that courts adopt the narrower one. State v. Carter, 255 A.3d 1139, 1156-

57 (N.J. 2021); see also N.J. Republican State Comm. v. Murphy, 236 A.3d 898,

907-08 (N.J. 2020). Indeed, “[w]hen necessary,” New Jersey courts “have engaged



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in ‘judicial surgery’ to save an enactment that otherwise would be constitutionally

doomed.” State v. Natale, 878 A.2d 724, 740 (N.J. 2005); see also, e.g., State v.

Comer, 266 A.3d 374, 399 (N.J. 2022) (“add[ing]” a statutory provision to cure a

constitutional infirmity because “the Legislature would want the law to survive”).

Employing these interpretive tools, the New Jersey Supreme Court would likely

conclude that Daniel’s Law’s civil provision codifies a negligent-disclosure tort.

      Start with the law’s text and structure. As noted, Daniel’s Law created an opt-

in regime: it requires valid “written notice,” “recei[ved]” by the entity, which has

ten business days to comply. N.J. Stat. Ann. §56:8-166.1(a). In other words, the

Legislature did not want entities held responsible for disclosures they could not have

reasonably avoided—such as where they lacked valid “notice,” or were not given

sufficient time to comply. That regime accords with background principles of

negligence law: it articulates a standard of care, in the form of a duty to avoid

dissemination when put on notice of a risk and given time to mitigate it. See

Restatement (Second) of Torts §282 (1965). And the law requires recklessness to

impose punitive damages. N.J. Stat. Ann. §56:8-166.1(c)(2). Together, that

structural evidence strongly supports that the Legislature intended to require

negligence for basic liability.

      Statutory history confirms as much. Since its precursor statute was enacted in

2015, Daniel’s Law has provided for criminal liability upon purposeful or reckless



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conduct, id. §2C:20-31.1 (2016), but allowed civil remedies for negligent conduct,

id. §56:8-166.1 (2016). The current version retains that architecture, and there is no

indication in either statutory or legislative history that the Legislature intended to

abandon it—least of all to invite obvious constitutional concerns by imposing strict

liability. Cf. Burkert, 174 A.3d at 998 (strong presumption “the legislature intended

to act in a constitutional manner”).

      Background tort principles also bolster that conclusion that Daniel’s Law

requires at least negligence. As Judge Bartle acknowledged, “the New Jersey

Supreme Court has explained that recovery for this tort requires proof of ‘the

unreasonable publication of private facts.’” JA119-20 (quoting Romaine v.

Kallinger, 537 A.2d 284, 291 (N.J. 1988)) (emphasis added). Other States’ courts

have confirmed this tort can be committed negligently, see, e.g., Z.D. v. Cmty. Health

Network, Inc., 217 N.E.3d 527, 533-34 (Ind. 2023), and legislatures, like New

Jersey’s, have drawn on this tradition in enacting statutory protections, enforceable

via negligence law, to protect sensitive information, see O’Donnell v. United States,

891 F.2d 1079, 1085-86 (3d Cir. 1989) (Pennsylvania negligent-disclosure claim

protecting psychiatric records). By contrast, the limited areas of tort law in which

strict liability applies are those in which special deterrence is needed—whether

because reasonable care is insufficient (as with ultrahazardous activities or

abnormally dangerous animals), see Restatement (Second) of Torts §§ 509, 519



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(1977), or, for products liability, where a manufacturer is best situated to avoid the

harm, see Suter v. San Angelo Foundry & Mach. Co., 406 A.2d 140, 151 (N.J. 1979).

Neither rationale fits with Daniel’s Law, reinforcing the unlikelihood that the

Legislature sought to inject strict liability here.

      That “matters of public record” are not typically subject to this established tort

is not to the contrary. Br.45-46. At a basic level, that information can potentially be

found in public documents is not dispositive, or else SSNs and protected health

information, if ever inadvertently made accessible, would be fair game for all time.

But see Ostergren, 615 F.3d at 282-83 (explaining why this is not the case). Further,

while most individuals’ addresses are not especially sensitive, that is because most

individuals are less likely to be victimized by targeted violence and harassment at

home. But some are, which is why laws in New Jersey and elsewhere have protected

such individuals’ data. Supra at 11. In these circumstances, the individual’s home

address is “actually private.” See Romaine, 537 A.2d at 292.

      Appellants’ two New Jersey Supreme Court cases are likewise inapposite.

First, their reliance on State v. Pomianek, 110 A.3d 841 (N.J. 2015), is misplaced,

because Pomianek involved a challenge to a bias-intimidation statute in which

criminal liability turned on whether the victim of the allegedly biased remarks

“reasonably believed” the defendant was motivated by racial bias. Id. at 843 (citation

omitted). Even leaving aside the more stringent approach that New Jersey courts



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apply when criminal liability is at stake, State v. Maldonado, 645 A.2d 1165, 1178

(N.J. 1994), that unusual statutory focus “on the victim’s, not the defendant’s, state

of mind,” Pomianek, 110 A.3d at 843, is easily distinguished from this case, which

simply asks what state of mind of the defendant triggers civil liability.9 And

Usachenok v. Department of the Treasury, 313 A.3d 53 (N.J. 2024), is even further

afield. There, the Court relied on the State Constitution to deem invalidate an

outdated regulation that had once directed State investigators undertaking

employment-discrimination investigations to “request” that interviewees “not

discuss any aspect of the investigation with others,” and had stated that “[f]ailure to

comply” could “result in administrative and/or disciplinary action.” Id. at 56-58

(citation omitted). While the Court declined to engage in judicial surgery to save this

already-superseded regulation, id. at 63, that sheds little light on the statutory

circumstances here.

      Appellants’ other objections also lack merit. To the extent Appellants rely on

the phrases “shall be liable,” Br.52, and “shall award,” Br.58, each simply redirects

to the question of what mental state the law requires to impose liability and award

damages. Nor is there any inconsistency requiring negligence and “the harm the

speech restriction seeks to prevent,” Br.59—the same harm befalls a covered person



9
  Nor does Pomaniek undermine the robust state-law tradition of remedial
construction, including those more recent decisions cited above.

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regardless of whether a disseminator is purposely or negligently sharing their

information. Finally, Appellants’ repeated references to preventing “self-

censorship” ring hollow. E.g., Br.53, 55. First Amendment doctrine enforces mental-

state requirements in order to “provide[] breathing room for more valuable speech.”

Counterman v. Colorado, 600 U.S. 66, 75 (2023). But that need is hardly acute

where, as here, few if any conceivable applications involve expressive speech. See

supra at 30. In any event, Appellants’ concern assumes an overly strict construction

of the statute; a company denied sufficient information by a requestor may well have

a valid statutory (or equitable) defense that valid “notice” was not “received” in the

first place. See supra at 41.

      Finally, even if this Court were to read Daniel’s Law to impose strict liability,

facial invalidation would be inappropriate. Rather than invalidate entire statutes,

courts prefer “to enjoin only the unconstitutional applications.” Ayotte v. Planned

Parenthood of N. New Eng., 546 U.S. 320, 328-29 (2006); see also N.J. Stat. Ann.

§1:1-10 (mandating severance to greatest extent possible); Barr, 591 U.S. at 630,

636 (severing TCPA provision exempting government-debt robocalls). While that

might require confirming that Appellants are entitled to argue to a factfinder that

they were not negligent in any alleged violations, it would not justify invalidating




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the law’s substantive requirements, nor its punitive-damages provision that

undisputedly effectuates them through a recklessness requirement.10

             3.     Daniel’s Law Is Not Facially Underinclusive.

      Appellants’ underinclusiveness arguments are also unavailing. To start, “the

First Amendment imposes no freestanding underinclusiveness limitation.” Williams-

Yulee v. Fla. Bar, 575 U.S. 433, 449 (2015). So a “[s]tate need not address all aspects

of a problem in one fell swoop”; instead, the Legislature “may focus on their most

pressing concerns,” and the Court has often “upheld laws—even under strict

scrutiny—that conceivably could have restricted even greater amounts of speech in

service of their stated interests.” Id.; see also Mainstream Mktg., 358 F.3d at 1240

(calling underinclusiveness argument against do-not-call registry “difficult to

fathom”). Instead, underinclusiveness primarily applies when a statute’s glaring

omissions suggest that the State’s motive was really targeting disfavored speech. See

id. at 1238-39; cf. Sorrell, 564 U.S. at 573-75 (invalidating regime that did little to

protect confidentiality outside “a narrow class of disfavored speakers”). As Judge

Bartle correctly held, Appellants’ critiques do not come close to this high bar.

      First, Appellants are wrong that the availability of certain address information

through non-mortgage encumbrance-related documents such as mechanic’s liens,


10
  Appellants’ other quibbles with features like unpublished home phone numbers,
claim-assignment, and liquidated damages are also at most arguments for severance,
not facial invalidation.

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N.J. Stat. Ann. §47:1B-3(a)(4)(d), somehow precludes covered persons from asking

private entities to stop disseminating this information. Br.32-33. As noted, the

Florida Star line of cases reflect the proposition that when the government itself

suggests something is newsworthy, it can seldom tell a speaker otherwise. See supra

at 27-29; see also Ostergren, 615 F.3d at 282-83 (distinguishing such cases from

cases involving personal information like SSNs). But New Jersey has naturally never

suggested that every non-mortgage lien is a matter of public importance. Further,

this exception is extremely narrow, less commonly applicable, and reflects

countervailing realities of these types of encumbrances—whereas the more common

form of real-estate encumbrance (a home mortgage), is subject to redaction. N.J.

Stat. Ann. §47:1B-3(a)(2); see id. §46:26A-2(e)-(f).11 This limited exception in no

way suggests the State is insufficiently committed to Daniel’s Law’s objectives.

      Second, that Daniel’s Law does not require claimants first to seek redaction

of public agencies’ records does not render it underinclusive. Br.34. There is a “vast

difference” between easily accessible information on open websites and the

possibility of finding information through a “diligent search” of government files.

RCFP, 489 U.S. at 764; see also Advance Mag., 210 F. Supp. 3d at 601 (rejecting

underinclusiveness for PPPA). And Daniel’s Law would not serve its interests as



11
  Further, because non-mortgage liens are available only through county-by-county
platforms, they are more difficult to locate (if they exist at all).

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well if covered persons, who might face imminent threats, were precluded from

obtaining relief from the entities whose dissemination they judged most concerning

simply because they had not yet obtained OIP’s approval.

      Nor are Appellants’ cited cases to the contrary. Br.34. The statute in Publius

v. Boyer-Vine, 237 F. Supp. 3d 997, 1020-21 (E.D. Cal. 2017), was deemed

underinclusive because it prohibited dissemination only on the Internet. And the

statutes in Brayshaw, 709 F. Supp. 2d at 1250, and Sheehan, 272 F. Supp. 2d at 1147,

were deemed underinclusive because they prohibited disclosing such information

“with the intent to harm or intimidate” and not by, for example, for-profit

commercial entities without such intent. Here, New Jersey properly covered such

applications, in order to properly serve its compelling interests.

      Finally, that covered persons may disclose their own information after

invoking Daniel’s Law’s protections is no defect. Br.34-35. The point of Daniel’s

Law is to allow covered persons to take control of their own information, recognizing

that they are best situated to weigh the risks. See N.J. Stat. Ann. §56:8-166.1(a); see

also Ostergren, 615 F.3d at 282-83. That a covered person may wish to ask data

brokers on the Internet to take down her address in no way forecloses her from

disclosing this information to select individuals as needed—whether to open a credit

card, register her child for school, or host a birthday party. In short, Daniel’s Law is

a sensible privacy statute, not a vow of solitude, and Appellants offer no reason a



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covered person’s own selective disclosures present the risks associated with

widespread dissemination by private entities.12 The law is not underinclusive.

      B.     For Similar Reasons, Daniel’s Law Satisfies Facial Intermediate
             Scrutiny, Whether Under Central Hudson Or The Standard Test.

      1. Start with Central Hudson. That four-part test begins with a threshold

question: whether the speech at issue [1] “is misleading or concerns illegal activity.”

Bank of Hope v. Miye Chon, 938 F.3d 389, 395 (3d Cir. 2019). If so, the inquiry

ends; if it is not, “the restriction must satisfy three more prongs to survive”: there

must be a substantial government interest; “the restriction must directly advance that

interest”; and “the restriction must be no broader than necessary.” Id. The NJAG

does not claim the threshold filter applies, and Appellants do not dispute that the first

of the three remaining prongs is met. The final two prongs are also easily met.

      First, Daniel’s Law directly advances its substantial (indeed compelling)

interest. To succeed on this prong, the State must show “that the harms it recites are

real and that its restriction will in fact alleviate them to a material degree.” Rubin v.

Coors Brewing Co., 514 U.S. 476, 487 (1995). Here, the undeniably real harms,

Br.25, are directly linked to the private information that Daniel’s Law empowers



12
   Nor do Appellants’ claims that the Legislature failed to articulate sufficient
reasons for its 2023 amendments, Br.12, 38, 40, have any bearing on the law’s
constitutionality. See Turner Broad. Sys., Inc. v. FCC, 520 U.S. 180, 213 (1997)
(“Congress is not obligated, when enacting its statutes, to make a record of the type
that an administrative agency or court does to accommodate judicial review.”).

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covered persons to protect. Individuals are usually most vulnerable at home, and

would-be wrongdoers therefore often seek the precise information Daniel’s Law

regulates.13 The would-be assassin who targeted a federal judge in 2013, for instance,

purchased the judge’s home address “on the internet for a mere $1.95.” 166 Cong.

Rec. 213 (2020). The man who murdered Judge Salas’s son is likewise believed to

have used the Internet to find her address. JA759. Allowing covered persons to have

this information taken down alleviates these threats “to a material degree.” Rubin,

514 U.S. at 487.

      Second, Daniel’s Law is no broader than necessary to serve its interests. This

prong does not require the “least restrictive alternative,” Greater Phila. Chamber,

949 F.3d at 140; rather, there need only be a “reasonable fit” between the end and

the means, Fox, 492 U.S. at 480. Here, for essentially the reasons above, a reasonable

fit is apparent: Daniel’s Law is a limited “opt-in” provision. See supra at 39-40. That

speech-permissive default easily renders the law reasonable and proportional.

      2. Daniel’s Law satisfies intermediate scrutiny for substantially the same

reasons. See S.F. Arts & Athletics, Inc. v. U.S. Olympic Comm., 483 U.S. 522, 537

n.16 (1987) (Central Hudson and intermediate scrutiny are “substantially similar”);

see also Turner, 512 U.S. at 662 (intermediate scrutiny requires “an important or


13
  Allowing covered persons to remove their home phone numbers similarly
ameliorates threatening or harassing phone calls. See Federal Daniel’s Law
§5932(a)(3).

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substantial governmental interest … unrelated to the suppression of free expression”

and means that “do not burden substantially more speech than is necessary”). Here,

too, the governmental interests are undisputed, Br.18, 25, and unrelated to

suppressing free expression, see supra sections II.A, II.C, and the means chosen do

not burden substantially more speech than necessary, see supra section III.A.2.

      C.      For Similar Reasons, Daniel’s Law Would Satisfy Even Strict Scrutiny.

      Strict scrutiny requires “that the restriction furthers a compelling interest and

is narrowly tailored to achieve that interest,” Reed v. Town of Gilbert, 576 U.S. 155,

171 (2015), and Appellants again concede that the State’s interests are “compelling,”

Br.25. For the reasons already given, no less-restrictive means would serve Daniel’s

Law’s compelling interests, because those alternatives would inevitably leave

covered persons more vulnerable to harm, all in order to safeguard data with only

marginal First Amendment value. See supra section III.A.

   IV.     In The Alternative, Certification Is Appropriate.

      To the extent this Court has questions about how Daniel’s Law would be

interpreted under New Jersey law or applicable state-law remedies, it should certify

such questions to the Supreme Court of New Jersey. See N.J.Ct.R. 2:12A-1; cf.

Virginia v. Am. Booksellers Ass’n, Inc., 484 U.S. 383, 397 (1988) (certifying state-

law questions). But because Judge Bartle properly denied Appellants’ facial motion,

certification is not warranted.



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                                 CONCLUSION

     This Court should affirm.

                                       Respectfully submitted,

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Dated: May 12, 2025




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                       COMBINED CERTIFICATIONS

     I hereby certify that the following statements are true:

  1. I am an attorney in good standing of the bar of the Third Circuit.

  2. This brief complies with the typeface, type style and type-volume limitation

     requirements of Fed. R. App. P. 32(a)(5)-(7) because this brief has been

     prepared using 14-point type in Times New Roman, a proportionally spaced

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     parts of the brief exempted by Fed. R. App. P. 32(f).

  3. The text of the paper copies that will be submitted are identical to the PDF

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  4. Prior to this brief being electronically filed with the Court, it was scanned by

     MacAfee, Inc.’s Endpoint Security, version 10.7.0.3012, a virus-detection

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                              By:      /s/ Michael L. Zuckerman
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Dated: May 12, 2025



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